                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

 TOTAL GROW HOLDINGS, LLC,                        §
 TG TECH HOLDINGS, LLC, AND TGC                   §
 SYSTEMS, LLC,                                    §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §    Civil Action No. 3:21-cv-354
                                                  §
 TENNESSEE EXTRACTS, LLC, LESLIE                  §
 HOUGH, JOSHUA BACKMAN, KEVIN                     §
 WOODS, AND MICHAEL SHEEHAN,                      §
                                                  §
        Defendants.                               §


                                  PROPOSED ORDER


       Before the Court is Defendants Tennessee Extracts, LLC, Leslie Hough, Joshua Backman,

Kevin Woods, and Michael Sheehan’s (collectively, “Defendants,” which are specially appearing)

Motion to Transfer or, Alternatively, to Dismiss (the “Motion”). (Doc. ___.) After due

consideration, the Court finds that the Motion should be GRANTED IN PART.

       It is, therefore, ORDERED, ADJUDGED AND DECREED that, pursuant to the first-to-

file rule, this action is hereby TRANSFERRED to the United States District Court for the Middle

District of Tennessee.

       ENTERED this ____ day of ________________, 2022.



                                           HON. JEFFREY V. BROWN
                                           United States District Court Judge
